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                    °.,~          UNITED STATES DISTRICT COURT
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           ~                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
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15         ~~-+    =               SOUTHERN DIVISION
                 :~  ~~-
16      ~UNITED~STATES OF AMERICA,          No. ~        ~1 9           ~ 2                    ~I
17                   Plaintiff,                  GOVERNMENT'S NOTICE OF REQUEST FORM
                                                 DETENTION
18                          v.

19      MICHAEL J. AVENATTI,

20                   Defendant.

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22             Plaintiff, United States of America, by and through its counsel

23      of record, hereby requests detention of defendant and gives notice of

24      the following material factors:

25            1.     Temporary 10-day Detention Requested (§ 3142(d)) on the

26                   following grounds:

27                 a.      present offense committed while defendant was on release)

28                         pending (felony trial),
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 1            b.    defendant is an alien not lawfully admitted for

 2                  permanent residence; and

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 4            c.    defendant may flee; or

 5            d.    pose a danger to another or the community.

 6       2.    Pretrial Detention Requested (~ 3142(e)) because no

 7             condition or combination of conditions will reasonably

 8             assure:

 9             a.    the appearance of the defendant as required;

10             b.    safety of any other person and the community.

11   ❑   3.    Detention Requested Pending Supervised Release/Probation

12             Revocation Hearing (Rules 32.1(a)(6), 46(d), and 18 U.S.C.

13             ~ 3143(a))

14       ❑     a.    defendant cannot establish by clear and convincing

15                   evidence that he/she will not pose a danger to any

16                   other person or to the community;

17             b.    defendant cannot establish by clear and convincing            ',

18                   evidence that he/she will not flee.

19       4.    Presumptions Applicable to Pretrial Detention (18 U.S.C.

20             ~ 3142(e))

21             a.    Title 21 or Maritime Drug Law Enforcement Act ("MDLEA")

22                   (46 U.S.C. App. 1901 et seq.) offense with 10-year or

23                   greater maximum penalty (presumption of danger to

24                   community and flight risk);

25             b.    offense under 18 U.S.C. ~§ 924(c), 956(a), 2332b, or

26                   2332b(g)(5)(B) with 10-year or greater maximum penalty

27                   (presumption of danger to community and flight 'risk);

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 1              c.   offense involving a minor victim under 18 U.S.C.

 2                   ~ ~ 1201, 1591, 2241, 2242, 2244(a)(1), 2245, 2251,

 3                   2251A, 2252(a)(1) - (a)(3), 2252A(a)(1)-2252A(a)(4),

 4                   2260, 2421, 2422, 2423 or 2425 (presumption of danger

 5                   to community and flight risk);

 6        ❑    d.    defendant currently charged with an offense described

 7                   in paragraph 5a - 5e below, AND defendant was

 8                   previously convicted of an offense described in

 9                   paragraph 5a - 5e below (whether Federal or

10                   State/local), AND that previous offense was committed

11                   while defendant was on release pending trial, AND the

12                   current offense was committed within five years of

13                   conviction or release from prison on the above-

14                   described previous conviction (presumption of danger to

15                   community).

16       5.    Government Is Entitled to Detention Hearing Under ~ 3142(f)

17             If the Case Involves:

18             a.    a crime of violence (as defined in 18 U.S.C.

19                   ~ 3156(a)(4)) or Federal crime of terrorism (as defined

20                   in 18 U.S.C. ~ 2332b(g)(5)(B)) for which maximum

21                   sentence is 10 years' imprisonment or more;

22             b.    an offense for which maximum sentence is life

23                   imprisonment or death;

24             c.    Title 21 or MDLEA offense for which maximum sentence is

25                   10 years' imprisonment or more;

26             d.    any felony if defendant has two or more convictions for

27                   a crime set forth in a-c above or for an offense under

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 1                   state or local law that would qualify under a, b, or c

 2                   if federal jurisdiction were present, or a combination

 3                   or such offenses;

 4        ❑     e.   any felony not otherwise a crime of violence that

 5                   involves a-minor victim or the possession or use of a

 6                   firearm or destructive device (as defined in 18 U.S.C.

 7                   ~ 921), or any other dangerous weapon, or involves a

 8                   failure to register under 18 U.S.C. § 2250;

 9             f.    serious risk defendant will flee;

10             g.    serious risk defendant will (obstruct or attempt to

11                   obstruct justice) or (threaten, injure, or intimidate

12                   prospective witness or juror, or attempt to do so).

13    ❑   6.   Government requests continuance of              days for detention

14             hearing under § 3142(f) and based upon the following

15             reason(s)

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 2        7.   Good cause for continuance in excess of three days exists in

 3             that:

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 9   Dated: March 22, 2019               Respectfully submitted,
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16
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17                                       UNITED STATES OF AMERICA
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